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                           UNITED STATES DISTRICT COURT
                                                                                           JS-5
                          CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES -REOPENING/CLOSING

Case No. 5:17-cv-00342 VAP (KKx)                                    Date July 20, 2018

Title: SARAH DIEFFENBACHER v. BETSY DeVOS

Present: The Honorable       VIRGINIA A. PHILLIPS, CHIEF U. S. DISTRICT JUDGE




                Beatrice Herrera                                             N/R
                Deputy Clerk                                       Court Reporter / Recorder


Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
         NONE                                                NONE




Proceedings:    G In Court             ✘ In Chambers
                                       G                   G Counsel Notified

G Case previously closed in error. Make JS-5.
                             re-open
✘ Case should have been closed on entry dated
G                                                   Jun 27, 2018           .

G Case settled but may be reopened if settlement is not consummated within                          days.
  Make JS-6.

✘ Other Order vacating dismissal and judgment.
G

G Entered                                     .




                                                                    Initials of Preparer          Bea




CV-74 (10/08)                          CIVIL MINUTES -REOPENING/CLOSING
